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AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Southern District of New York

  YOLANDA BOOKER, DARNELL EDWARDS,                                 )
  CHAASAHN HUGHES, and RAYSHAWN SHAW,                              )
  individually and on behalf of themselves and all current         )
  and former employees,                                            )
                           Plaintiff(s)                            )
                                v.                                 )
                                                                           Civil Action No.   1:23-cv-10921
  KFB & ASSOCIATES CONSULTING INC d.b.a                            )
  FLAGGERS AHEAD, ELECNOR HAWKEYE                                  )
  LLC, CONSOLIDATED EDISON COMPANY OF                              )
  NEW YORK, INC., KLAUS F. BROSCHEIT                               )
  and VICKI BROSCHEIT,                                             )
                                                                   )
                           Defendant(s)

                                                 SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address) See Attached Rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Christopher Q. Davis, Esq.
                                     The Law Office of Christopher Q. Davis
                                     80 Broad Street, Suite 703
                                     New York, New York 10004
                                     cdavis@workingsolutionsnyc.com
                                     (646) 430-7930 (main)
                                     (646) 349-2504 (fax)
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:     12/18/2023                                                             /s/ J. Gonzalez
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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Civil Action No. 1:23-cv-10921                    Booker et al. v. KFB & Associates Consulting Inc et al.




TO: KFB & ASSOCIATES CONSULTING INC
    d.b.a. FLAGGERS AHEAD
    409 Lamberts Cove Road
    West Tisbury, Massachusetts 02575

   ELECNOR HAWKEYE LLC
   [DOS Service of Process] – Elecnor Hawkeye, LLC
   100 Marcus Boulevard, Suite 1
   Hauppauge, New York 11788

   CONSOLIDATED EDISON COMPANY OF NEW YORK, INC.
   [DOS Service of Process] – Sylvia V. Dooley
   4 Irving Place
   New York, New York 10003
   Attention: Law Department | Room 1850-S

   KLAUS F. BROSCHEIT
   409 Lamberts Cove Road
   West Tisbury, Massachusetts 02575
   [President of KFB & Associates Consulting, Inc.]

   VICKI BROSCHEIT
   409 Lamberts Cove Road
   West Tisbury, Massachusetts 02575
   [Secretary for KFB & Associates Consulting, Inc.]
